        Case 2:15-cr-01077 Document 57 Filed on 12/30/15 in TXSD Page 1 of 2
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             December 30, 2015
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL NO. 2:15-CR-1077-1
                                            §
MARGIL OZUNA-BARRERA                        §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant meets the probable cause standard and the

weight of the evidence is strong. The defendant is a citizen of Mexico and a lawful

permanent resident of the United States. If convicted, the defendant will be deported

from the United States. Further, the defendant is married to a citizen of Mexico without

status to remain in the United States. The strength of the evidence, the amount of the

illegal drugs involved, the ten year mandatory minimum and the defendant’s ties to

1/2
      Case 2:15-cr-01077 Document 57 Filed on 12/30/15 in TXSD Page 2 of 2




Mexico and his likely deportation make the defendant a serious risk of flight.         The

findings and conclusions contained in the Pretrial Services Report are adopted.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 30th day of December, 2015.


                                             ___________________________________
                                                          Jason B. Libby
                                                   United States Magistrate Judge




2/2
